Case 1:20-cv-24523-AMC Document 495 Entered on FLSD Docket 03/10/2021 Page 1 of 2



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                         Case No. 20-24523-CIV-CANNON/OTAZO-REYES

   GILEAD SCIENCES, INC.; GILEAD
   SCIENCES IRELAND UC,

           Plaintiffs,
   v.

   AJC MEDICAL GROUP, INC. et al.,

          Defendants.
   __________________________________/

        AGREED ORDER ON DEFENDANTS’ AND NON-PARTIES’ OBJECTIONS TO
                      PLAINTIFFS’ SUBPOENAS TO BANKS

         THIS CAUSE having come before the Court on Defendants Community Health Medical

  Center, LLC, United Pharmacy, LLC, United Clinical Laboratory, LLC, Kirill Vesselov, Mikhail

  Vesselov, and Roman Sheckhet (“Defendants”) and the Non-Parties referenced in the Notice of

  Attorney Appearance and Designation of Email Address filed by Cheyenne N. Riker on January

  28, 2021 (DE 404) (“the Non-Parties”) objections to the subpoenas served on Defendants’ and the

  Non-Parties’ banks by Plaintiffs Gilead Sciences, Inc. and Gilead Sciences Ireland UC

  (“Plaintiffs”), having been advised of an agreement between Plaintiffs and Defendants and being

  otherwise duly advised in the premises, it is ORDERED and ADJUDGED as follows:

         1. Roman Sheckhet, United Pharmacy, LLC, United Clinical Laboratory, LLC, and

             Community Health Medical Center, LLC withdraw their objection with respect to their

             accounts.

         2. Kirill Vesselov and Mikhail Vesselov will execute affidavits regarding their respective

             personal accounts establishing that, to the best of their knowledge and belief, they have

             not made any transfers directly or indirectly to, or received any transfers directly or
                                                 1
Case 1:20-cv-24523-AMC Document 495 Entered on FLSD Docket 03/10/2021 Page 2 of 2



           indirectly from, any other defendants in the above-captioned case, with certain

           exceptions for transfers already disclosed to Plaintiffs.

        3. The Non-Parties, by counsel, will submit to counsel for Plaintiffs, as a confidential

           disclosure, marked as FOR ATTORNEY’S EYES ONLY, the following information

           regarding each of the Non-Parties:

               a. What each such Non-Party does; and

               b. Whether there are any transfers (other than distributions or contributions from

                   owners) among the Non-Parties and any defendants, directly or indirectly.

        4. Upon receipt, Plaintiffs shall confer with counsel for the Non-Parties to discern whether

           additional discovery is necessary as to the records of the Non-Parties. To the extent

           any Non-Party engaged in any transfers (other than distributions or contributions from

           owners) with a defendant, directly or indirectly, that Non-Party will withdraw its

           objections to the subpoenas Plaintiffs served on the Non-Party’s banks.

        5. A copy of this Order shall be served to each of Defendants’ and the Non-Parties’ banks.

        DONE AND ORDERED in Chambers at Miami, Florida this 10th day of March, 2021.



                                                      ___________________________________
                                                      ALICIA M. OTAZO-REYES
                                                      UNITED STATES MAGISTRATE JUDGE



  cc:   United States District Judge Aileen M. Cannon
        Counsel of Record




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